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AO 83 (Rev. 06/09) Summons in a Criminal Case


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                         District of
                                                     __________      Massachusetts
                                                                  District of __________

                   United States of America                            )
                              v.                                       )
                                                                       )
                                                                       )      Case No.
                                                                       )
                                                                       )
                              Defendant                                )

                                                    SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document filed with the court:

   Indictment                  Superseding Indictment             Information      Superseding Information                 Complaint
   Probation Violation Petition                 Supervised Release Violation Petition      Violation Notice              Order of Court


Place:                                                                              Courtroom No.:

                                                                                    Date and Time:

          This offense is briefly described as follows:




Date:
                                                                                           Issuing officer’s signature


                                                                                            Printed name and title



I declare under penalty of perjury that I have:

   Executed and returned this summons                                 Returned this summons unexecuted



Date:
                                                                                               Server’s signature



                                                                                            Printed name and title
